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       Exhibit J
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Harmon – Licensing

UCA1: I’m guessing there’s a fee on your end?

Harmon: We’re uh, we’re gonna make money off the sale of bitcoin to people,
um.

UCA1: [inaudible]

Harmon: We have uh ,uh like you can buy bitcoin through our app. It currently
goes through another company but we’re working on creating our own way to sell
bitcoin to start making money that way. Right now we’re not making any money.

UCA2: Oh wow.

UCA1: [inaudible}

UCA2: So what did you need to do to make money? What’s your next steps?

Harmon: Uh, well, we’re gonna try and get investments so we can get licensing. I
mean right now we make a little off that cause we have a lot of referrals.

UCA2: Sure, ok

Harmon: If we can do it ourselves, we need about, about 2 million to get the
licenses so that we can sell it ourselves, so that’s , that’s what we’re gonna do.
We’re also, also working on lightning, so uh..

UCA2: Did you say lightning?

Harmon: Yeah, the lightning protocol. It makes it faster without being… so you
can send bitcoin like instantly. It could just cost me about 80 cents to send it to
you, per bitcoin. But with the lightning protocol it’s the second layer, it enhances
so it’s like 21 cents per bitcoin.
